                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:09-00262
                                                   )       JUDGE CAMPBELL
DARYL BORNSTEIN                                    )

                                            ORDER

       Pending before the Court is a Motion for Separate Plea Hearings and to Seal Plea Pleadings

and to Seal Plea Pleadings (Docket No. 144). The Motion for Separate Plea Hearing is GRANTED.

       The Court will hold a change of plea hearing for Defendant Daryl Bornstein on Friday,

January 31, 2014, at 10:00 a.m.

       The Motion to Seal Plea Pleadings will be discussed at the hearing on January 31, 2014.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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